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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION



UNITED STATES OF AMERICA

     v.

GREGG SMITH,                              Case No. 19-cr-00669
MICHAEL NOWAK,
                                          Hon. Edmond E. Chang
JEFFREY RUFFO, and
CHRISTOPHER JORDAN,

                 Defendants.




       DEFENDANT GREGG SMITH’S REPLY MEMORANDUM OF LAW
                REGARDING REQUEST TO EXCLUDE
            PROPOSED GOVERNMENT EXHIBITS 84 AND 463




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       Defendant Gregg Smith respectfully submits this reply brief in further support of his

request to exclude Proposed Government Exhibits 84 and 463 (“GX 84” and “GX 463,”

respectively and, together, the “Exhibits”).

                                          ARGUMENT

       There are two exhibits at issue, both concerning alleged conduct of Mr. Smith while

employed as a trader at Bear Stearns: GX 84, which is a March 6, 2008, chat between co-defendant

Ruffo and a Bear Stearns customer, and GX 463, which is a snippet of Mr. Smith’s trading activity

that the Government claims correlates with that customer order. The Government alleges that the

Exhibits are admissible as direct evidence of the Counts alleged against Mr. Smith in the Second

Superseding Indictment (the “Indictment”). The admissibility of the Exhibits as direct evidence

is not supported by the text of the Indictment, nor is there any other permissible basis for the

Government to introduce the Exhibits at trial.

       First, the Exhibits are not direct evidence of any of the charges against Mr. Smith because

they pre-date the unlawful conduct as alleged in the Indictment. Specifically, the conspiracy

counts (Counts One and Two) are limited to conduct that occurred at JPMorgan, and, per the

Indictment, Mr. Smith did not join JPMorgan until May 2008—two months after the conduct

depicted in the Exhibits. And the Government has stipulated that it will rely solely on the trading

sequences specifically identified in the Indictment to prove attempted price manipulation (the only

substantive Count against Mr. Smith that covers conduct dating back to March 2008). GX 463 is

not one of those sequences.

       Second, the Exhibits are inadmissible as “other acts” evidence under Federal Rule of

Evidence 404(b) because the Government failed to provide timely notice under Rule 404(b)(3)

and, alternatively, because they are improper propensity evidence under Rule 404(b)(1).




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        Alternatively, the Exhibits should be precluded under Federal Rule of Evidence 403

because their probative value is substantially outweighed by the risk of unfair prejudice and/or

because they constitute needlessly cumulative evidence.

        For the same reasons, the Government should be precluded from offering at trial any

evidence concerning Mr. Smith’s trading activity prior to joining JPMorgan.

   I.      THE EXHIBITS ARE NOT DIRECT EVIDENCE OF ANY OF THE CHARGES
           AGAINST MR. SMITH

           A. The Exhibits Are Not Direct Evidence of the Conspiracy Counts

        There are two conspiracy Counts in the Indictment. Count One is a racketeering conspiracy

(“RICO Conspiracy Count”) and Count Two is a conspiracy under 18 U.S.C. § 371 (“Section 371

Conspiracy Count”). As explained in more detail below, neither purports to cover conduct that

occurred before Mr. Smith joined JPMorgan. And, because pre-conspiracy conduct is no longer

admissible in the Seventh Circuit as direct evidence of a conspiracy, the Exhibits cannot be offered

as direct evidence of either count.

                   1. The Exhibits Are Not Direct Evidence of the RICO Conspiracy

        The Government appears to concede in its brief that evidence of Mr. Smith’s conduct while

at Bear Stearns is not direct evidence of the RICO Conspiracy Count. The Indictment defines the

racketeering “enterprise” as the JPMorgan Precious Metals Desk (Indictment ¶ 17, ECF No. 448)

and Defendants as “persons employed by and associated with the JPMorgan Precious Metals

Desk” (id. ¶ 22). Mr. Smith’s conduct while employed at Bear Stearns thus cannot be direct

evidence of his participation in an enterprise defined as the JPMorgan Precious Metals Desk where

his role was that of a person employed by JPMorgan.




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                  2. The Exhibits Are Not Direct Evidence of the Section 371 Conspiracy
                     Count

       The Government’s opposition focuses on the Section 371 Conspiracy Count and states that,

because the Indictment alleges that the conspiracy began in “March 2008,” a March 6, 2008, chat

and trading episode necessarily fall within the conspiracy period—regardless of whether Mr. Smith

was trading for Bear Stearns or JPMorgan. This is false. The Indictment must be read “as a whole,

focusing on a practical, rather than hypertechnical, reading of the document.” United States v.

Moore, 563 F.3d 583, 585 (7th Cir. 2009); accord United States v. Castaldi, 547 F.3d 699, 703

(7th Cir. 2008). And, when read as a whole, the Section 371 Conspiracy Count against Mr. Smith

is clearly limited to conduct that occurred while Mr. Smith was employed at JPMorgan.

       First, the Section 371 Conspiracy Count incorporates by reference every substantive

allegation in the RICO Conspiracy Count (Indictment ¶ 47); therefore, it is similarly limited in

scope to Defendants’ conduct while employed at JPMorgan.

       Second, in the same sentence of the Indictment that defines the conspiracy period as

beginning in March 2008, the Indictment also states that “each of the defendants [including Gregg

Smith] was an employee of JPMorgan, and was employed on, and associated with . . . the

JPMorgan Precious Metals Desk” at various times during the conspiracy period (Indictment ¶ 47

(incorporating ¶ 18)). In other words, the sentence defining the conspiracy period limits it to

conduct that occurred while Defendants were employed at JPMorgan. The language from this

same paragraph quoted by the Government—essentially that Mr. Smith was employed by Bear

Stearns until it was acquired by JPMorgan in May 2008 and that “[f]or the remainder of the

Conspiracy Period” he was employed by JPMorgan—supports this interpretation. (Gov’t Opp’n

at 1 (quoting Indictment ¶ 18(a)), ECF No. 553.) Unlike some of his co-Defendants and alleged

co-conspirators, Mr. Smith was not employed by JPMorgan (and thus not a member of the



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conspiracy) from its inception. Rather he is alleged to have joined in May 2008, and from May

2008 through “the remainder of the Conspiracy Period” he was employed at JPMorgan.

        Third, the Indictment defines the purpose of the Section 371 Conspiracy as “[m]aximizing

trading profits and minimizing losses for the Defendants and their co-conspirators, the JPMorgan

Precious Metal Desk, and JPMorgan itself through unlawful trading practices.” (Indictment

¶ 49(a).) The Government notes that the Indictment also lists two other purposes and that

“defendants need not have pursued all three goals at the same time.” (Gov’t Opp’n at 2.) However,

Mr. Smith could not have pursued either of these other purposes while employed at Bear Stearns.

He could not have “[c]onceal[ed] the unlawful activities of the Defendants and their co-

conspirators from scrutiny by JPMorgan [and others]” (id. ¶ 49(c)), when he was not employed by

JPMorgan. And, regardless, the Exhibits are not relevant to any concealment efforts. (See June

2, 2022, Pretrial Conf. Tr. at 75 (Government arguing that the documents show Mr. Smith

“spoof[ing] up the market” to fill a customer order).) Nor could Mr. Smith have “[p]romoted and

enhanced” a conspiracy to maximize trading profits for JPMorgan while he was employed at Bear

Stearns. (Indictment ¶ 49(b).)1

        Finally, one of the objects of the Section 371 Conspiracy is wire fraud affecting a financial

institution, and JPMorgan is the financial institution allegedly affected. (Id. ¶ 48(a).) While the

other objects—commodities fraud, price manipulation, and spoofing—are not, on their face,

limited to JPMorgan, they are all based on the exact same trading conduct. (Id. ¶ 47; see also,

e.g., Gov’t Opp’n to Mot. to Dismiss at 45 n.29, ECF No. 166 (Government limiting the


1
 The Indictment states this purpose of the conspiracy as follows: “Promoting and enhancing the
conspiracy and the activities of the Defendants and their co-conspirators.” (Indictment ¶ 49(b).)
As the purpose or goal of a conspiracy must be to “commit a crime” (Proposed Jury Instructions
Request 24, ECF No. 514-1), the only reasonable interpretation of this allegation is as described
above.



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substantive price manipulation and spoofing claims to just the specific JPMorgan trading

sequences alleged in the indictment).)

        Accordingly, the Section 371 Conspiracy Count is limited to Mr. Smith’s conduct while

employed at JPMorgan. Because the Exhibits relate to conduct before Mr. Smith was employed

at JPMorgan, they cannot be direct evidence of the conspiracy counts.

                     3. The Seventh Circuit No Longer Recognizes Pre-Conspiracy Evidence
                        as Direct Evidence of a Conspiracy

        Because GX 463 and GX 84 involve pre-conspiracy conduct, under Seventh Circuit law,

they cannot be offered as direct evidence of the conspiracy. Pre-conspiracy evidence that “helps

to complete the story of the crime on trial, if its absence would create a chronological or conceptual

void in the story of the crime, or if it is so blended or connected that it incidentally involves,

explains the circumstances surrounding, or tends to prove an element of the charged crime” 2 is no

longer admissible in the Seventh Circuit as direct evidence. United States v. Gorman, 613 F.3d

711, 719 (7th Cir. 2010). Prior to Gorman, evidence that was “inextricably intertwined” with the

charged conduct was considered direct evidence, “and therefore, d[id] not implicate Rule 404(b)

at all.” Id. at 717-18. However, the Seventh Circuit in Gorman overruled its prior line of cases,

holding that “resort to inextricable intertwinement is unavailable when determining a theory of

admissibility” because, “[i]f evidence is not direct evidence of the crime itself, it is usually

propensity evidence simply disguised as inextricable intertwinement evidence, and is therefore

improper, at least if not admitted under the constraints of Rule 404(b).” Id. at 718-19; see also

United States v. Taylor, 522 F.3d 731, 735 (7th Cir. 2008) (finding the “inextricably interwoven”

doctrine unsatisfactory because its “vagueness invites prosecutors to expand the exceptions to the


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 United States v. McLee, 436 F.3d 751, 760 (7th Cir. 2006), overruled by United States v. Gorman,
613 F.3d 711 (7th Cir. 2010).



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rule beyond the proper boundaries of the exceptions”); United States v. Schmitt, 770 F.3d 524, 533

(7th Cir. 2014) (noting that the district court’s reliance on the inextricably intertwined doctrine

“runs counter to our recent precedent”). Instead, the admissibility of pre-conspiracy evidence

(formerly admissible under the inextricably intertwined doctrine) is governed by Rule 404(b).

Gorman, 613 F.3d at 718; see also, e.g., Taylor, 522 F.3d at 735 (recognizing that “[a]lmost all

evidence admissible under the ‘inextricably interwoven’ doctrine is admissible under one of the

specific exceptions to Rule 404(b)”); cf. United States v. Alviar, 573 F.3d 526, 538 (7th Cir. 2009)

(court must look to the scope of the indictment itself to determine whether conduct is direct

evidence of guilt or “other bad acts” evidence governed by Rule 404(b).)

        Accordingly, the Exhibits—and any other pre-conspiracy evidence—must satisfy Rule

404(b) to be admissible.

           B. The Exhibits Are Not Direct Evidence of the Substantive Counts

        Nor are the Exhibits admissible as direct evidence of the substantive attempted price

manipulation count against Mr. Smith, as the Government alleges. 3 The Government argues that,

even though it “has indeed stipulated that it will prove the attempted price manipulation charge

against defendant Smith using the specific trading sequences in paragraph 30 [of the Indictment]”

(and the trading sequence reflected in GX 463 is not one of those sequences), somehow “other

evidence of the scheme is relevant and admissible.” (Gov’t Opp’n at 3.) In other words, even

though the Government stipulated that it will rely solely on the specific trading sequences in the

Indictment, it does not need to rely solely on the specific trading sequences in the Indictment.


3
 The Government concedes that these Exhibits are not relevant to any of the other substantive
counts against Mr. Smith.




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Such an interpretation of the Government’s stipulation would render it meaningless, and the Court

should reject the Government’s argument.

       The Government’s stipulation was proffered in response to Defendants’ motion to dismiss

the First Superseding Indictment, in which Defendants argued (among other things) that the

attempted price manipulation count should be dismissed for lack of specificity because, even

though it was pled as a scheme, the Government was nonetheless required to identify the particular

trading sequences with specificity. The First Superseding Indictment (like the current Indictment)

included a list of at-issue trading sequences “among others,” and Defendants argued that the

“among others” language expanded the conduct underlying the charge beyond what was

enumerated in the indictment. In response, the Government stated that it “does not dispute that

any trading sequences offered to prove [the attempted price manipulation charge] must be confined

to those enumerated in the Superseding Indictment.” (Gov’t Opp’n to Mot. to Dismiss at 45, ECF

No. 166.) The Court relied on this representation when denying Defendants’ motion to dismiss

this count: “The government agrees that it will prove the attempted price manipulation . . . counts

only via the listed trading sequences. So there is no reason to dismiss the counts for lack of

specificity, given the government’s stipulation.” (Order at 28, ECF No. 374.)

       The Government reiterated and elaborated on the purpose of its stipulation in response to

Defendants’ motion to dismiss the attempted price manipulation count in the operative Indictment:

               [W]ith respect to the Government’s assertion in its prior opposition
               that it would prove the attempted price manipulation charges
               through the specified trading sequences listed in [the attempted price
               manipulation] counts: this statement remains true. . . . As
               background, the purpose of the Government’s original statement
               was to assure the Court and the defendants that these counts would
               not be proven through trading sequences not specifically listed in
               the relevant counts, i.e., that the defendants would have sufficient
               notice. Specifically, the statement was made to refute the claim that
               the defendants were not adequately informed of the nature of the



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                charges because the attempted price manipulation counts alleged
                specific trading sequences “among others.” . . . [T]he Government
                will prove such charges through the specific trading sequences
                alleged, as opposed to proving its case through unspecified trading
                sequences.

(Gov’t Opp’n to Mot. to Dismiss Second Superseding Indictment at 17, ECF No. 473 (emphasis

added).) The Court again relied on this representation in denying the motion to dismiss. (Order

at 3, ECF No. 523 (adopting its prior reasoning).)

         The Government is now trying to prove its case “through unspecified trading sequences”—

namely, the sequence reflected in GX 463—despite its prior stipulation to the contrary. The

Government entered into a stipulation to avoid dismissal, and it must be held to its stipulation. If

the Government persists in its stated intention to violate the terms of its stipulation, the Court

should dismiss the attempted price manipulation charge for lack of specificity.

   II.      THE EXHIBITS DO NOT SATISFY RULE 404(b) AND ARE INADMISSIBLE
            AS OTHER-ACTS EVIDENCE

         GX 463 and GX 84 (and any other evidence of Mr. Smith’s trading activity at Bear Stearns)

are inadmissible under Federal Rule of Evidence 404(b) because the Government failed to provide

timely notice under Rule 404(b)(3) and, alternatively, because they are improper propensity

evidence under Rule 404(b)(1).

         Rule 404(b)(3) provides that, in a criminal case, the prosecutor must provide “reasonable

notice” of the Government’s intention to offer evidence of “any other crime, wrong, or act” at trial,

“so that the defendant has a fair opportunity to meet it.” Rule 404(b)(3) further specifies that such

notice must “articulate in the notice the permitted purpose for which the prosecutor intends to offer

the evidence and the reasoning that supports the purpose.” Here, the Court set a deadline of July

9, 2021, for the Government to provide such notice to Defendants. (Minute Entry, Jan. 28, 2021,

ECF No. 260.) The Government failed to do so. The Court then set a new deadline of June 9,



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2022—nearly a year after the initial deadline—for the Government to articulate the non-propensity

purpose for which it intends to offer GX 84, in accordance with Rule 404(b)(3)(B). (June 2, 2022,

Pretrial Conf. Tr. at 78:15-24.) The Government again failed to do so. Having disregarded two

Court-ordered deadlines without good cause, the Government should now be prohibited from

offering any Rule 404(b) evidence at trial. Fed. R. Evid. 404, 1991 Advisory Committee Notes

(“Because the notice requirement serves as condition precedent to admissibility of 404(b)

evidence, the offered evidence is inadmissible if the court decides that the notice requirement has

not been met.”); see also, e.g., United States v. Vega, 188 F.3d 1150, 1155 (9th Cir. 1999) (finding

that district court erred in allowing prosecution to introduce “other acts” evidence at trial when it

failed to provide reasonable notice); United States v. Carrasco, 381 F.3d 1237, 1241 (11th Cir.

2004) (same).

       Regardless, there is no non-propensity purpose for which the Government can offer the

Exhibits: a chart depicting Mr. Smith’s trading activity within a five-minute period on March, 6,

2008, that allegedly correlates with a Bear Stearns customer order, which the Government

contends is an example of Mr. Smith “spoof[ing] up the market.” (June 2, 2022, Pretrial Conf. Tr.

at 78:9.) Rule 404(b) prohibits evidence of “any crime, wrong, or act” if the purpose is to show

the defendant’s propensity to behave in a certain way, but such other-act evidence “may be

admissible for another purpose,” such as intent, preparation, plan, or absence of mistake. Fed. R.

Evid. 404(b). As the Seventh Circuit held in Gomez, “it’s not enough for the proponent of other-

act evidence simply to point to a purpose in the ‘permitted’ list and assert that the other-act

evidence is relevant to it.” 763 F.3d at 856. Rather, “the rule allows for the use of other-act

evidence only when its admission is supported by some propensity-free chain of reasoning.” Id.




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           Here, to the extent the Government claims to offer the Exhibits for a non-propensity

purpose, when one looks beyond whatever non-propensity purpose the Government may proffer

and considers “what inferences the jury is being asked to draw from that evidence, and by what

chain of logic,” it is clear that “despite the label, the jury is essentially being asked to rely on the

evidence as proof of the defendant’s propensity to commit the charged offense.” United States v.

Lee, 724 F.3d 968, 978 (7th Cir. 2013); see also Gomez, 763 F.3d at 856 (“Rule 404(b) excludes

the evidence if its relevance to ‘another purpose’ is established only through the forbidden

propensity inference.”). For example, the Government noted at the first pretrial conference that

this would be evidence of the “manner or means” of the conspiracy. (June 2, 2022, Pretrial Conf.

Tr. at 77:9.) In other words, Defendants allegedly accomplished the purpose of the conspiracy—

to service and benefit key JPMorgan customers—through the use of the same allegedly fraudulent

trading strategy employed by Mr. Smith as reflected in GX 463. But this argument rests on pure

propensity: Because Mr. Smith employed an allegedly fraudulent trading strategy to benefit a Bear

Stearns customer in early March 2008, he must have employed an allegedly fraudulent trading

strategy to benefit JPMorgan customers during the conspiracy. As this relevance “is established

only through the forbidden propensity inference,” it is inadmissible under Gomez. 763 F.3d at

856.

    III.      THE EXHIBITS SHOULD BE PRECLUDED UNDER RULE 403

           GX 84 and GX 463 also should be precluded under Rule 403. “Other-act evidence raises

special concerns about unfair prejudice because it almost always carries some risk that the jury

will draw the forbidden propensity inference.” Gomez, 763 F.3d at 857. As such, the Seventh

Circuit requires courts to conduct a Rule 403 analysis before admitting evidence under Rule

404(b). See, e.g., United States v. Miller, 673 F.3d 688, 697 (7th Cir. 2012) (“[A]ll bad acts




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evidence must be balanced for probative value and unfair prejudice.”); Gomez, 763 F.3d at 856

(“[E]ven if other-act evidence is relevant without relying on a propensity inference, it may be

excluded under Rule 403, which applies with full force in this context.”). Here, GX 84 and 463

run afoul of Rule 403 in two distinct manners. First, as described above, the Exhibits should be

precluded because the risk of the improper propensity inference substantially outweighs whatever

non-propensity purpose the Government may try to articulate. Second, as detailed below, the

proffered evidence is also needlessly cumulative to accomplish any purported non-propensity

purpose.

        “Evidence is ‘cumulative’ when it adds very little to the probative force of the other

evidence in the case, so that if it were admitted its contribution to the determination of truth would

be outweighed by its contribution to the length of the trial, with all the potential for confusion . . .

that a long trial creates.” United States v. Williams, 81 F.3d 1434, 1443 (7th Cir. 1996). Here, the

Government is expected to offer evidence of nine other trading episodes of Mr. Smith (similar to

GX 463) that took place within the alleged conspiracy period, all of which are accompanied by a

contemporaneous chat between Mr. Ruffo and a customer (similar to GX 84, except the

communications are with JPMorgan customers and, thus, are direct evidence of the conspiracy

counts).4 The Government is expected to argue that these nine episodes, like the episode reflected

in GX 84 and 463, are evidence of Mr. Smith allegedly spoofing to benefit a customer order.

Additionally, the Government is expected to introduce evidence of 106 additional trading episodes

of Mr. Smith in a format nearly identical to GX 463. 5 According to the Government, all 115

additional trading episodes depict a similar, allegedly unlawful trading strategy—the same trading


4
  Eight of these chats are with an employee of Moore Capital and the ninth is with an employee of
Tudor Investment Corp. GX 464-465, 470-471, 473-476, 482.
5
  GX 450, 466-467, 478-479, 481, 485.



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strategy the Government claims is depicted in GX 463. Thus, the Exhibits add very little, if

anything, to the probative force of the other nine trading episodes with accompanying chats that

the Government contends reflect customer orders or of the 106 other allegedly unlawful trades that

are on the Government’s exhibit list. As such, the Exhibits are needlessly cumulative and unduly

prejudicial in light of their risk that the jury will draw the forbidden propensity inference, and,

therefore, they should be precluded under Rule 403.

                                        CONCLUSION

       For the foregoing reasons, the Government should be precluded from offering GX 463, GX

84, and any other evidence of Mr. Smith’s trading activity while at Bear Stearns against Mr. Smith.

Dated: June 21, 2022

                                             Respectfully submitted,


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